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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

        v.
                                                        Case No. 20-cr-10111-RWZ
 CHARLES LIEBER,

                               Defendant.


                         NOTICE OF CHANGE OF FIRM ADDRESS

To:    ATTORNEY SERVICES CLERK AND ALL OTHER PARTIES

Pursuant to Local Rule 83.5.6 of the United States District Court for the District of
Massachusetts, please take notice of the following attorney information changes for:

                                        Marc L. Mukasey

I am an attorney duly admitted to practice before the United States District Court for the
Massachusetts, and currently have this case pending before the Court. Please note the change of
firm name and change of address below.

OLD FIRM NAME:                        Mukasey Frenchman & Sklaroff LLP
Old Firm Address:                     2 Grand Central Tower
                                      140 East 45th Street, Suite 17A
                                      New York, New York 10017

NEW FIRM NAME:                        Mukasey Frenchman LLP
New Firm Address:                     570 Lexington Avenue, Suite 3500
                                      New York, New York 10022

I will continue to be counsel of record on the above-entitled case.

Dated: August 10, 2021                                 /s/ Marc L. Mukasey
                                                       Marc L. Mukasey
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                                 CERTIFICATE OF SERVICE

        I, Marc L. Mukasey, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on August 10, 2021.

                                                       /s/ Marc L. Mukasey
                                                      Marc L. Mukasey
